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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHAPTER 4 CORP.,
                                                    Case No. 19-cv-04566
               Plaintiff,
                                                    Judge Charles P. Kocoras
v.
                                                    Magistrate Judge Mary M. Rowland
CHEN YU, et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on September 3, 2019 [44], in

favor of Plaintiff Chapter 4 Corp. (“Plaintiff”) and against the Defendants Identified in Schedule

A in the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant, and

Plaintiff acknowledges payment of an agreed upon damages amount, costs, and interest and

desires to release this judgment and hereby fully and completely satisfy the same as to the

following Defendants:

             Defendant Name                                         Line No.
            Shiny Diamond Store                                        42
                  eb_shoes                                              84
               multiverse-tech                                         116

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 19th day of September 2019.   Respectfully submitted,


                                         __/s/ Allyson M. Martin_______________
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